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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS


                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )     Criminal Action
                                    )     No. 08-CR-10193-DPW
JOFREE ACOSTA-SOTO                  )
                                    )


                           MEMORANDUM AND ORDER
                             October 21, 2009

        Jofree Acosta-Soto and Hector Fernandez, the defendants in

this matter, have been charged with conspiracy to distribute

cocaine and possession of cocaine with intent to distribute.

Acosta-Soto, joined by Fernandez, has moved to suppress evidence

seized on June 14, 2008 during a warrantless entry and protective

sweep of a residence at 15 Spring Street in Malden,

Massachusetts.

                              I. FINDINGS OF FACT

        Following a full evidentiary hearing, and consideration of

the submissions of the parties, I make the following findings of

fact.

        A.   The Background

        Beginning in at least October 2007, law enforcement

personnel undertook an investigation of a suspected narcotics

trafficking operation in Malden, Massachusetts.           The

investigation incorporated information from local and national

law enforcement officers and agents, confidential sources, public
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records, telephone toll records, pen register, and tap and trace

information.     Between November 2007 and March 2008, investigators

conducted surveillance and trash pulls at 15 Spring Street in

Malden, later determined to be defendant Acosta-Soto’s residence.

        On April 8, 2008, investigators executed search warrants at

15 Spring Street, Acosta-Soto’s residence, and two other

locations believed to be utilized by the defendants and the

alleged drug organization.       During the execution of the warrant

at 15 Spring Street, investigators discovered $5,000 in cash,

materials believed to be used in drug packaging, and alleged drug

ledgers.

        Also in April 2008, a cooperating individual reported that

Acosta-Soto’s brother, Ismael Maldenado, who lived at 27 Holyoke

Street in Malden and was also a target of the April 2008 search

warrants, was the leader of a drug organization trafficking in

multiple kilograms of cocaine in which he worked with Acosta-

Soto.    The cooperating individual said that Maldenado used a

black Infiniti to conduct drug sales.

        Through Title III intercepts of April 2008 phone calls

between Acosta-Soto and Maldenado, investigators learned that

Acosta-Soto and Maldenado were preparing a transport vehicle to

go to the Carolinas to pick up a large quantity of cocaine.              In

response, the Drug Enforcement Agency and state and local law

enforcement in the Carolinas set up a surveillance operation.             On

May 1, 2008, a red Volvo XC90, previously seen at 27 Holyoke
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Street, was stopped by North Carolina Patrol Officers who

discovered two large, hidden compartments in the body of the

vehicle.

     B.     The June 2008 Searches at 15 Spring Street1

     On or about June 12, 2008, DEA Task Force investigators in

Massachusetts received information from New York law enforcement

that Acosta-Soto and Maldenado expected to receive a multi-

kilogram shipment of cocaine on the evening of June 13 or the

morning of June 14.       That information was based on a New York

based intercept in which officers heard Acosta-Soto discussing

the transport and amount of cocaine from the Southeast or

Carolinas to Massachusetts.        In response, Boston investigators

initiated surveillance at several locations frequented by

Maldenado and Acosta-Soto beginning on June 12, 2008.

     On June 12 and 13, 2008, investigators observed Maldenado

and Acosta-Soto enter and exit 27 Holyoke Street several times.

On June 13, 2008, investigators watched Maldenado carry a

briefcase from 27 Holyoke Street into a black Infiniti.

     Between the late morning and early afternoon of June 14,

2008, investigators positioned themselves in various locations

     1
       As will be apparent from these findings of fact, I largely
credit the testimony of the law enforcement agents over the
testimony of Acosta-Soto. Specifically, I do not credit Acosta-
Soto’s account of the timing and chronology of the events on June
14, 2008. There are, to be sure, certain inconsistencies - which
I resolve in these findings - in the testimony of the
investigators. I find the basic and material testimony of the
investigators to be largely consistent, however.
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around 15 Spring Street.    Sergeant James Picardi was positioned

one street over.   Trooper Gregory DesFosses was positioned in a

driveway off a street parallel to Spring Street.        From his

position, Trooper DesFosses had a view of the front of 15 Spring

Street.   Detective Kenneth Kelley, positioned first in a parking

lot and then in an apartment building facing the side of 15

Spring Street, had a relatively unobstructed view of the driveway

and side door of 15 Spring Street.      Sometime after 1 p.m., DEA

Special Agent Jeffrey Commander arrived on Spring Street where,

from his vehicle, he had a long view of the driveway to 15 Spring

Street.   Detective Kelley and Special Agent Commander were in

communication by Nextel and radio throughout the surveillance.

     At approximately 1 p.m., investigators observed the black

Infiniti operated by Maldenado pull up to and park in front of 15

Spring Street.   Investigators observed Acosta-Soto seated in the

front passenger seat.   Investigators watched Acosta-Soto exit the

Infiniti, walk to the open trunk of the vehicle and remove a

large package or container from the car and walk toward the rear

of 15 Spring Street.    Acosta-Soto was observed returning to the

Infiniti and thereafter, both Acosta-Soto and Maldenado were

observed driving to 27 Holyoke Street where they entered.

     At approximately 2 p.m., investigators identified a vehicle

parked at the rear of 15 Spring Street as a silver or gray Volvo

XC90 with Pennsylvania registration.      A woman parked the Volvo in


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the driveway, and with her female passengers, left 15 Spring

Street in Acosta-Soto’s red Toyota Camry.

     At 2:11 p.m., the black Infiniti returned to 15 Spring

Street and an individual later identified as defendant Hector

Fernandez was observed in front of 15 Spring Street holding two

packages. Detective Kelley then saw Acosta-Soto and Fernandez

coming in and out of the 15 Spring Street apartment, carrying

tools.    Detective Kelley observed the defendants removing the

rear seat of the Volvo and placing it in the backyard.         He saw

Acosta-Soto and Fernandez accessing what he believed were hidden

compartments in the Volvo.    Acosta-Soto entered the house and

then returned to the vehicle holding a white laundry bag.         After

Acosta-Soto filled the white bag with objects from the Volvo,

Fernandez carried the bag toward the side door of 15 Spring

Street.   Detective Kelley conveyed to other surveillance officers

his observations and his belief that the defendants were

accessing a hide, taking kilos of drugs out of the vehicle and

placing them in the bag.    When Detective Kelley relayed to

Special Agent Commander that it appeared that Acosta-Soto and

Fernandez had unloaded the hide, Special Agent Commander gave an

order to move in and arrest the defendants as they were walking

up the driveway.

     Pursuant to that order, agents and officers moved down the

driveway and announced their presence, yelling “Police, Police.”

Until the investigators made themselves known as they proceeded
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toward the defendants, they had not been aware of the police

surveillance.     As the investigators moved down the driveway and

continued to announce their presence, Acosta-Soto and Fernandez

ran inside 15 Spring Street and slammed the door.           Investigators

knocked on the door, but received no response.           They then tried

to turn the door handle, but it was locked.          Finally, Special

Agent Commander broke down the door and entered 15 Spring Street.

Approximately one minute passed between the order to move in and

the defendants’ arrest, roughly ten to twenty seconds of which

consisted of investigators banging on the door, shouting

“police,” and trying the door handle before breaking the door

down.

        Once inside the residence, investigators observed Acosta-

Soto and Fernandez standing in the living room.           The defendants

were placed in custody and the investigators performed a

protective sweep of the premises.        During that protective sweep,

a Task Force Officer discovered, under a comforter on the bed in

the bedroom, thirteen kilogram-sized packages of what was

believed to be cocaine.

        Approximately one and one-half hours passed between the time

when the Volvo was observed arriving at the Spring Street

location and the time the defendants were arrested.

        In the very early morning of the following day, June 15,

2008, agents secured search warrants for 15 Spring Street, 27

Holyoke Street, and the Volvo XC90.         In the affidavit Special
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Agent Commander prepared in support of the search warrant

application, he stated that “agents observed a pile of kilogram

style packages of what they believe to be cocaine sitting on top

of a bed in a bedroom located within the apartment.”

      After securing warrants for 15 Spring Street and the Volvo

XC90, investigators executed a full search of both.         During the

search, investigators determined that the collection of kilogram-

sized packages in the bedroom were, in fact, thirteen kilogram

packages of cocaine.    In the Volvo, Agents discovered custom-

built hidden components beneath the rear seating area.          The

investigators determined that one compartment - presumably the

one that they had observed being accessed the previous day - was

empty; the other compartment contained twelve kilogram-sized

packages containing cocaine.      The twelve packages found in the

Volvo and the thirteen packages found in the apartment were

similar in appearance.

                       II.   CONCLUSIONS OF LAW

A.   Warrantless Entry and Exigent Circumstances

      The Fourth Amendment normally requires police to have both

probable cause and a warrant before entering a person’s home

without the individual’s consent.        United States v. Tibolt, 72

F.3d 965, 969 (1st Cir. 1995); United States v. Beltran, 917 F.2d

641, 642 (1st Cir. 1990) (quoting Payton v. New York, 445 U.S.

573, 590 (1980)).    Fourth Amendment jurisprudence provides that


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in the absence of exigent circumstances the police may not,

without a warrant, cross the threshold of a home.        Payton, 445

U.S. at 590.   Thus, a warrantless entry into a suspect’s

residence is “presumptively unreasonable[,]” but a warrantless

search may be permissible if there are exigent circumstances.

United States v. Samboy, 433 F.3d 154, 158 (1st Cir. 2005).

     The government bears the burden of proving that exigent

circumstances support a recognized exception to the Fourth

Amendment warrant requirement.     Tibolt, 72 F.3d at 968-69.         “To

show exigent circumstances, the police must reasonably believe

that ‘there is such a compelling necessity for immediate action

as will not brook the delay of obtaining a warrant.’”         DeMayo v.

Nugent, 517 F.3d 11, 15 (1st Cir. 2008) (quoting Samboy, 433 F.3d

at 158).   Legally sufficient exigent circumstances can be

provided by:

           (1) hot pursuit of a fleeing felon; (2)
           threatened destruction of evidence inside a
           residence before a warrant can be obtained;
           (3) a risk that the suspect may escape from
           the residence undetected; or (4) a threat,
           posed by a suspect, to the lives or safety of
           the public, the police officers, or to an
           occupant.

United States v. Martins, 413 F.3d 139, 146 (1st Cir. 2005).            See

also Tibolt, 72 F.3d at 969.     Proof of these circumstances must

be supported by “particularized, case-specific facts, not simply

generalized suppositions about the behavior of a particular class

of criminal suspects.”    DeMayo, 517 F.3d at 15 (quoting Samboy,
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433 F.3d at 158).    In reviewing the claimed exigency, a court’s

“inquiry is limited to the objective facts reasonably known to,

or discoverable by, the officers at the time of the search.”

Tibolt, 72 F.3d at 969.

     Based on the finding of facts, I conclude that the

investigators’ entry into 15 Spring Street was supported by

exigent circumstances.

     Upon becoming aware of the police presence, the defendants

fled from the investigators and into the home.        Special Agent

Commander testified to the reasonable law enforcement inference

that, because the defendants knew that the investigators intended

to arrest them and had run into the home, they would dispose of

the drugs.   See United States v. Santana, 427 U.S. 38, 43 (1976)

(finding that the investigators reasonably expected that the

defendants, having become aware of the police presence, would

destroy evidence).

     At first blush, the facts here seem to fit squarely within

the “hot pursuit” exigency that will justify warrantless entry.

However, after the investigators pursued the defendants on the

driveway and up to the door, they did not break down the door

immediately and enter the premises; rather, the officers spent

between ten and twenty seconds banging on the door and yelling at

the defendants to open it.

     In order to fall within the hot pursuit exception, the

officers must be in “immediate” and “continuous” pursuit of the
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suspect fleeing the scene of the crime.       Welsh v. Wisconsin, 466

U.S. 740, 753 (1984); United States v. Salvador, 740 F.2d 752,

758 n.5 (9th Cir. 1984).    In O’Brien v. City of Grand Rapids, the

Sixth Circuit found that where an officer chose not to pursue a

suspect after an initial confrontation and instead called for

backup and there was no concern about the destruction of

evidence, the hot pursuit exception did not apply to the entry

into the suspects’ home six hours later.       O’Brien v. City of

Grand Rapids, 23 F.3d 990, 997 (6th Cir. 1994).

     Here, undertaking to “knock and announce” could be viewed as

militating against the contention that the investigators were in

hot pursuit.    However, I find that the pursuit by the officers,

despite the ten to twenty seconds of knocking and announcing

“police,” was sufficiently immediate and continuous to fall

within the hot pursuit exception to the warrant requirement.           The

brief “knock and announce” exercise engaged in here appears to

have been a passing act of deference to another principle that

forms a part of the reasonableness inquiry under the Fourth

Amendment.     See generally, Wilson v. Arkansas, 514 U.S. 927, 929

(1995).   The government, however, should not be penalized for a

momentary pause in which to determine whether continued hot

pursuit would be necessary to secure evidence which might be

destroyed. Detective Kelley had just observed the defendants

engaged in criminal conduct and investigators immediately pursued

the defendants to effect their arrest.       The defendants, aware of
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the police presence, rushed into the house and locked the door

while the investigators followed them.       Only ten to twenty

seconds later, investigators broke their way into the home.            I

find and conclude that the investigators’ entry into the home on

this basis falls within the hot pursuit exception.

B.   Manufactured Exigency

     Exigent circumstances do not satisfy the Fourth Amendment

standards for permissible warrantless entry into a home if law

enforcement agents manufactured them by “unreasonably and

deliberately delaying or avoid[ing] obtaining the warrant.”

United States v. Rengifo, 858 F.2d 800, 804 (1st Cir. 1988).

“[L]aw enforcement officers may not manipulate events to create

an emergency and bootstrap that invented emergency into a

justification for a warrantless entry of a person’s home.”

Martins, 413 F.3d at 148; see United States v. Curzi, 867 F.2d

36, 43 (1st Cir. 1989).

     At the motion hearing, defendants pressed the contention

that, having probable cause to arrest the defendants when

investigators observed them dismantling the Volvo and unloading

the items in it, the investigators were somehow obligated to

secure a warrant before proceeding toward an arrest.         Acosta-

Soto, in particular, has argued that the law enforcement agents

were not permitted to sit on probable cause in order to create

exigent circumstances that would then justify warrantless entry

into the residence.
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      In determining whether exigent circumstances arose naturally

during the course of an investigation or were manufactured by law

enforcement, a court “must consider not only the motivation of

the police in creating the exigency, but also the reasonableness

and propriety of the investigative tactics that generated the

exigency.”    United States v. Maldonado, 472 F.3d 388, 396 (5th

Cir. 2006).    This includes consideration of whether “(1) there

was sufficient time secure a warrant; and (2) whether the

exigency was created by unreasonable law enforcement tactics.”

Id.

      Here, investigators likely had probable cause to arrest the

Acosta-Soto and Fernandez when Kelley observed Acosta-Soto

emptying objects from the Volvo into the laundry bag.          Special

Agent Commander issued his order to move in upon receiving that

information from Kelley, who witnessed the defendant’s activities

around the Volvo.

      Although a deliberate delay in applying for a warrant may

preclude the government’s reliance on an exigent circumstances

justification for home entry, there is no rule that police

officers must apply for a warrant the instant they reach the

probable cause threshold.2     Beltran, 917 F.2d at 643.       Here, I

2
 I recognize that where officers expect that they may have to
enter a home to arrest a suspect in the near future and they have
adequate time to secure a warrant, they must do so. United
States v. Curzi, 867 F.2d 36, 42 (1st Cir. 1989) (police had two
hours in which they could have secured a warrant and the failure
to do so precluded a finding of exigent circumstances). In
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find and conclude that the investigators acted promptly upon

having probable cause in their attempt to execute arrests while

the defendants were still outside the residence.

     I find and conclude that the exigent circumstances of hot

pursuit and concern about the destruction of evidence were

created by the defendants as they ran into 15 Spring Street,

rather than by the investigators through manipulative generation

of supporting circumstances.     The investigators were justified in

pursuing the defendants into the home.

C.   Protective Sweep

     Once the investigators entered the premises located on

exigent circumstances, they were permitted to conduct a

protective sweep to ensure their safety.       See Maryland v. Buie,

494 U.S. 325, 334 (1990) (holding that in a protective sweep,

“officers could, as a precautionary matter and without probable

cause or reasonable suspicion, look in closets and other spaces

immediately adjoining the place of arrest from which an attack

could be immediately launched.”) It was not beyond the bounds of

a permissible protective sweep for a Task Force Officer to pull

back a blanket, which he discovered was covering a pile of



Curzi, the suspects were already in their home before they became
aware of the police presence and had been for approximately two
hours. Id. at 38. Similarly, in United States v. Beltran, where
officers had three to four hours before the arrest in which they
could obtain a warrant, and they did not do so, the court found
that the warrantless arrest inside the home violated the Fourth
Amendment. 917 F.2d 641, 643-44 (1st Cir. 1990).
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packages on the bed.    The packages appeared to contain cocaine.

The packages were discovered during a protective sweep in which a

Task Force Officer permissibly “moved a blanket covering a space

large enough for a person to hide.”       United States v. Winston,

444 F.3d 115, 120 (1st Cir. 2006).       That movement put the

packages of cocaine in plain view and provided a proper predicate

for the search warrants.

                           III.   CONCLUSION

     For the foregoing reasons, I DENY Acosta-Soto’s motion to

suppress (Doc. No. 21) in which Fernandez has joined.




                                  /s/ Douglas P. Woodlock
                                  DOUGLAS P. WOODLOCK
                                  UNITED STATES DISTRICT JUDGE




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